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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP, BI-LEVEL                       Master Docket: No. 21-mc-1230-JFC
PAP, AND MECHANICAL VENTILATOR                               MDL No. 3014
PRODUCTS LITIGATION
This document relates to: Dorfman v. Preferred
Homecare, 2:23-cv-01745-CDS-NJK (D. Nev.)


          RESPONSE OF NON-PARTY PHILIPS RS NORTH AMERICA LLC
         TO PLAINTIFF SCOTT DAVID DORFMAN’S MOTION TO REMAND

               Pursuant to the Court’s September 17, 2024 Order (ECF No. 2968), non-party

Philips RS North America LLC (“Philips RS”) submits this response to Plaintiff Scott David

Dorfman’s Motion to Remand (ECF No. 2919). Philips RS has no objection to the remand of this

action to the District of Nevada for the following two reasons:

               First, neither Philips RS nor any other Philips affiliate is named in Plaintiff’s

Complaint. As Plaintiff correctly noted in his Motion to Remand, his claims are only against the

DME, Preferred Homecare (“Preferred”). As set forth in its Response to Plaintiff’s Motion to

Remand, Preferred does not oppose remand. (ECF No. 2960).

               Second, as Plaintiff states in his Motion to Remand, Plaintiff’s claims are “not based

upon the design and manufacture of the Philips CPAP machine,” but rather Preferred’s “conduct

when administering the procurement and maintenance” of Plaintiff’s device. (See Mot. to Remand

at 3 (ECF No. 2919)).

               Accordingly, non-party Philips RS does not object to remand. However, Philips

RS reserves the right to seek to transfer this case to this MDL in the event Plaintiff changes his

theories, or seeks to add parties, following remand.
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Dated: October 1, 2024                     Respectfully submitted,

                                           /s/ Erik T. Koons
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                                CERTIFICATE OF SERVICE

       I certify that on October 1, 2024, the foregoing Response was filed electronically with the

Clerk of Court, using the CM/ECF system. Notice of this filing will be sent to all parties who have

appeared of record by operation of the Court's ECF system.



                                                      /s/ Erik T. Koons
                                                      Erik T. Koons




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